Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 1 of 10
                   Exhibit M, 000001 of 10
Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 2 of 10
                   Exhibit M, 000002 of 10
Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 3 of 10
                   Exhibit M, 000003 of 10
Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 4 of 10
                   Exhibit M, 000004 of 10
Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 5 of 10
                   Exhibit M, 000005 of 10
Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 6 of 10
                   Exhibit M, 000006 of 10
Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 7 of 10
                   Exhibit M, 000007 of 10
Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 8 of 10
                   Exhibit M, 000008 of 10
Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 9 of 10
                   Exhibit M, 000009 of 10
Case 1:21-cr-00128-RC   Document 212-1   Filed 02/12/24   Page 10 of 10
                   Exhibit M, 000010 of 10
